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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION


 EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
                  Plaintiff, Counter-defendant,
                       v.
 APPLE INC.,                                        OBJECTIONS TO SPECIAL MASTER
                  Defendant, Counterclaimant.       DETERMINATIONS ISSUED
                                                    JANUARY 28, 2025 REGARDING
                                                    APPLE’S RE-REVIEWED
                                                    DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to Section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following Objections to
certain of the Special Masters’ privilege determinations issued on January 28, 2025, regarding
Apple’s production of re-reviewed documents.
        Epic does not have access to the documents and is therefore unable to fully assess the
bases on which Apple claims privilege. However, based on the information provided in Apple’s
privilege logs for the documents and their families, Epic believes several of the documents for
which Apple maintained privilege assertions that were sustained by the Special Masters are in
fact not privileged. Epic respectfully requests that the Court review the following documents in
camera and reject Apple’s privilege assertions pertaining to these documents, in whole or in part.
       Predominantly Non-Legal Emails
        Entry No. 1811 (PRIV-APL-EG_00044612) is a document Apple seeks to withhold
entirely. But the document is an email from Liz Pulchny, a non-lawyer Senior Program Manager,
to seventeen recipients—lawyers and non-lawyers alike, including Carson Oliver, a non-lawyer
Senior Director of Business Management. The subject line of the email indicates that the
discussion centered on an “analytics question”. Given the large number of non-legal recipients
and a subject line that does not appear to address primarily legal issues, this document likely
should be produced (at most with redactions).
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        Entry No. 1844 (PRIV-APL-EG_00045236) is a document Apple seeks to withhold
entirely. It is an email from one non-lawyer to another non-lawyer regarding Apple’s compliance
plan in the European Union. No lawyer is listed as a recipient of the email (at least as to the top
email). Therefore, this does not seem to be an e-mail that should be withheld, let alone in its
entirety.
        Entry No. 1929 (PRIV-APL-EG_00045963) is another document Apple seeks to withhold
entirely. It is an email chain from Phil Schiller, Apple Fellow and Senior Vice President, to
several non-lawyers (including Mr. Kosmynka, Apple’s Director of App Review, and Mr. Sainz,
an Apple communications employee), and one in-house counsel. Entry Nos. 1930 (PRIV-APL-
EG_00045970) and 1931 (PRIV-APL-EG_00045971) are both images attached to the parent
email. The subject line shows the document concerns an appeal to Apple of an apparent Apple
decision to reject an application from the App Store during App Review—a purely, or at least
primarily, business decision by Apple. As such, the e-mail and its attachments appear to be
predominantly business-related, and should not be withheld (let alone in its entirety).
       Business-Related Document
        Entry No. 1828 (PRIV-APL-EG_00044907) is a document Apple seeks to withhold
entirely. It appears to be a document discussing business-related topics such as “fast-growing
apps”, “Commerce” and “Pricing”, as the file name indicates. Entry Nos. 1829 (PRIV-APL-
EG_00044911) and 1830 (PRIV-APL-EG_00044912) appear to be images within the parent
document. The custodian of the document and its attachment children is a non-lawyer. The
document and its attachments therefore do not appear to be privileged documents that ought to
be withheld, let alone in their entirety.




 DATED: February 3, 2025                            CRAVATH, SWAINE & MOORE LLP
                                                    By: /s/ Yonatan Even
                                                    Counsel for Plaintiff Epic Games, Inc.




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